
PER CURIAM.
The petition for writ of certiorari reflected apparent jurisdiction in this Court. We issued the writ and have heard argument of the parties. After hearing argument and upon further consideration of the matter, we have determined that the cited decisions present no direct conflict as required by Article V, Section 4, Florida Constitution, F.S.A. Therefore, the writ must he and is hereby discharged and the petition for writ of certiorari is dismissed.
It is so ordered.
THOMAS, THORNAL, O’CONNELL and CALDWELL, JJ., concur.
ROBERTS, J., dissents with opinion.
DREW, C. J., and ERVIN, J., dissent and concur with ROBERTS, J.
